Case 3:23-cv-00209-SPM Document 64-1 Filed 03/19/23 Page 1 of 23 Page ID #2667




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS

  CALEB BARNETT, et al.,
  Plaintiffs,

  vs.
                                                Case No. 3:23-cv-209-SPM
                                                ** designated Lead Case
  KWAME RAOUL, et al.,
  Defendants.
  DANE HARREL, et al.,
  Plaintiffs,

  vs.                                           Case No. 3:23-cv-141-SPM

  KWAME RAOUL, et al.,
  Defendants.
  JEREMY W. LANGLEY, et al.,
  Plaintiffs,

  vs.                                           Case No. 3:23-cv-192-SPM

  BRENDAN KELLY, et al.,
  Defendants.
  FEDERAL FIREARMS LICENSEES
  OF ILLINOIS, et al.,
  Plaintiffs,

  vs.                                           Case No. 3:23-cv-215-SPM

  JAY ROBERT “J.B.” PRITZKER, et al.,
  Defendants.



                          BRIEF OF AMICUS CURIAE
                      SECOND AMENDMENT LAW CENTER
Case 3:23-cv-00209-SPM Document 64-1 Filed 03/19/23 Page 2 of 23 Page ID #2668




                                                    TABLE OF CONTENTS


 INTEREST OF AMICUS CURIAE ................................................................................................1

 INTRODUCTION ...........................................................................................................................1

 SUMMARY OF ARGUMENT .......................................................................................................3

 ARGUMENT ...................................................................................................................................4

 I. THE APPROPRIATE TIME PERIOD TO DETERMINE ORIGINAL
    PUBLIC UNDERSTANDING OF THE SECOND AMENDMENT
    IS 1791, WHEN THE BILL OF RIGHTS WAS ADOPTED ....................................................4

     A. Briefing in this case that suggests or advocates that the time
        to determine the original meaning of the Bill of Rights is
        when the Fourteenth Amendment was ratified is seriously in error. ...................................4

     B. The case law and quotations relied on to establish 1868
        as the pertinent year are illusory ..........................................................................................6

     C. The Constitution’s meaning is fixed according to the
        understandings of the Founders .........................................................................................11

     D. Each provision of the Bill of Rights means the same thing
        when applied against the states through the Fourteenth Amendment
        as it does when applied against the federal government ....................................................12

     E. Bruen and Heller both held that history from around the
        time of the Civil War or later cannot be used to contradict the
        original understanding from 1791, but can only be used to
        confirm that understanding ................................................................................................13

     F. The position that 1868 is the proper year is contrary to the
        Supreme Court’s prior holdings and will not be adopted by the Court .............................14

           1. The Supreme Court’s universal practice has been to look
              at the Founding era, not 1868, to determine the original
              understanding of the Bill of Rights ................................................................................14

           2. The Supreme Court will not overturn its fundamental
              incorporation jurisprudence to focus on 1868
              rather than the Founding ...............................................................................................16



                                                                      i
Case 3:23-cv-00209-SPM Document 64-1 Filed 03/19/23 Page 3 of 23 Page ID #2669




 II. HELLER DETERMINED THE LEGAL STANDARD THAT APPLIES TO BANS ON
     ARMS AND THAT STANDARD SHOULD BE APPLIED IN THIS CASE .......................18

 CONCLUSION ..............................................................................................................................19

 CERTIFICATE OF SERVICE




                                                                     ii
Case 3:23-cv-00209-SPM Document 64-1 Filed 03/19/23 Page 4 of 23 Page ID #2670




                                INTEREST OF AMICUS CURIAE 1

        The Second Amendment Law Center is a 501c3 nonprofit corporation headquartered in

 Henderson, Nevada. The Center promotes and defends the individual right to keep and bear arms.

 The Center also educates the public about the social utility of private firearm ownership and

 publishes accurate and truthful historical, criminological, and technical information about firearms.

                                         INTRODUCTION

        A new argument is being advanced in Second Amendment cases all over the country. It is

 now being argued that the time of ratification of the Fourteenth Amendment (1868) is the primary

 or exclusive time period for determining the original public understanding of the Second

 Amendment. That argument is not only incorrect and illogical, but is directly contrary to Supreme

 Court precedent both in Second Amendment cases and other cases involving incorporated

 provisions of the Bill of Rights. When it has been necessary to look to history for original meaning,

 the Court has always looked to the time of the original ratification of the Bill of Rights in 1791.

        This amicus brief makes two main points: 1) Heller has already determined the test in arms

 ban cases; and 2) any inquiry into historical analogues should focus on the Founding period, not

 the time of ratification of the Fourteenth Amendment. In logical order, the first point is that in

 Heller 2 the Supreme Court examined the relevant text and history relating to possession of arms.

 Based on that text and history, the Court concluded that the kinds of arms protected by the Second




 1
   No party’s counsel authored this brief in whole or in part. No party or party’s counsel, and no
 person other than amicus, its members, or its counsel, contributed money that was intended to fund
 preparing or submitting this brief.
 2
   District of Columbia v. Heller, 554 U.S. 570 (2008).


                                                   1
Case 3:23-cv-00209-SPM Document 64-1 Filed 03/19/23 Page 5 of 23 Page ID #2671




 Amendment are those that are in “in common use,” or, phrased somewhat differently, those that are

 “typically possessed by law-abiding citizens for lawful purposes.” 3

         If the arms in question are protected under the Heller test, which they plainly are in this

 case, there is no need to examine historical analogues either in 1791 or 1868. Indeed, it would be

 improper for a lower court to do so. The job of the federal courts is to faithfully apply Supreme

 Court precedents and reasoning. The Heller test is the first step logically speaking, but it is

 addressed second in this brief because the argument regarding the relevant time for determining

 meaning—1868 as opposed to 1791—is a novel one. Defendants have made the argument for 1868

 in very limited fashion in their Opposition, 4 but the amicus brief recently filed by Everytown for

 Gun Safety, Doc. 54 (“Everytown Br.”) presents that argument at considerable length. If this court

 decides to examine historical analogues, amicus submits that the proper time period for determining

 meaning is 1791, not 1868. Because the contention that 1868 is the proper period is novel, it is

 addressed in Part I of this brief.

         It has never been in question until very recently that the Founding is the relevant time period

 for determining the original public understanding of a constitutional provision. Now that is being

 questioned post-Bruen, 5 and the time period of the ratification of the Fourteenth Amendment in

 1868 is being proposed as the relevant time period. The purpose of that argument is to allow much



 3
   Heller, 554 U.S. at 624-25. Another way of phrasing the test is to hold that arms that are
 “dangerous and unusual” may be prohibited. Because arms that are “in common use” or are
 “typically possessed by law-abiding citizens for lawful purposes” cannot, by definition, be
 “unusual,” this brief concentrates on the “common use” and “typically possessed” formulations of
 the rule.
 4
   Defendants Brief in Opposition to the Motion for Preliminary Injunction, Doc. 37 (“Opp.”)
 5
   New York State Rifle & Pistol Association, Inc. v. Bruen, 142 S.Ct. 2111 (2022).


                                                   2
Case 3:23-cv-00209-SPM Document 64-1 Filed 03/19/23 Page 6 of 23 Page ID #2672




 later and more numerous laws in the late nineteenth century to be cited as “historical analogues”

 under Bruen. This brief demonstrates that the substitution of 1868 for 1791 is deeply mistaken, and

 that it has not and will not be adopted by the Supreme Court.

                                  SUMMARY OF ARGUMENT

        The Supreme Court in Heller and Bruen has made it clear that the scope of the Second

 Amendment is determined in accordance with the scope it was understood to have when the people

 adopted it. It was adopted in 1791. Now Defendants suggest that 1868, the time of adoption of the

 Fourteenth Amendment, which applies the Second Amendment to the states, is “also relevant.” The

 amicus brief filed by Everytown for Gun Safety expressly argues at some length that 1868, not

 1791, is the principal time for determining the Second Amendment’s scope. See Part I.A., below.

        The case law from Courts of Appeals cited in the Everytown brief does not support that

 position. See Part I.B., below. The Gould decision from the First Circuit was abrogated by Bruen.

 The rest merely cite a plainly erroneous statement made by the Seventh Circuit in the Ezell decision.

 That error was promptly corrected by the Seventh Circuit in another case the following year. There

 is one very recent Eleventh Circuit panel decision that adopts 1868 as the appropriate year, but for

 reasons discussed below that decision is incorrect and not yet final. The Everytown brief cites not

 a single Supreme Court case that has held that 1868 rather than 1791 is the proper time for

 determining original meaning, and thus for evaluating the relevance of purported historical

 analogues. Instead, that brief discusses an “ongoing scholarly debate” briefly mentioned in Bruen.

        The Supreme Court has clearly held that the Constitution’s meaning is fixed according to

 the understandings of those who ratified it, although that fixed meaning can be applied to




                                                  3
Case 3:23-cv-00209-SPM Document 64-1 Filed 03/19/23 Page 7 of 23 Page ID #2673




 circumstances the Founders did not foresee. Furthermore, the individual rights enumerated in the

 Bill of Rights have the same scope against the states as they do against the federal government.

 Because that meaning was fixed in 1791, the scope did not change in 1868. Accordingly, the Court

 has held that post-enactment history cannot contradict the original meaning, but can only be used

 to confirm it. Here, Defendants and their amici seek to contradict the original meaning by offering

 analogues a century and more after the Founding by claiming that 1868, not 1791, is the relevant

 period.

           The Supreme Court’s universal practice when examining history to determine the meaning

 of incorporated provisions of the Bill of Rights has been to look to the understanding at the time of

 the Founding. Numerous Supreme Court cases cited in the present brief demonstrate this, and none

 have looked to post-Civil War history for anything but confirmation of the 1791 understanding.

           The “ongoing scholarly debate” alluded to in Bruen does not change this fact. To adopt the

 position advocated by the Everytown brief would overturn the Supreme Court’s jurisprudence on

 incorporation for all provisions of the Bill of Rights. The Court is unlikely to do that. In any event,

 it has not done so and lower courts are bound by the decisions of the Supreme Court.

                                            ARGUMENT

 I. THE APPROPRIATE TIME PERIOD TO DETERMINE ORIGINAL PUBLIC
    UNDERSTANDING OF THE SECOND AMENDMENT IS 1791, WHEN THE BILL
    OF RIGHTS WAS ADOPTED.

    A. Briefing in this case that suggests or advocates that the time to determine the original
       meaning of the Bill of Rights is when the Fourteenth Amendment was ratified is
       seriously in error.

           The Supreme Court’s decision in Bruen made it clear that “Constitutional rights are




                                                   4
Case 3:23-cv-00209-SPM Document 64-1 Filed 03/19/23 Page 8 of 23 Page ID #2674




 enshrined with the scope they were understood to have when the people adopted them,” Bruen, 142

 S.Ct. 2136 (quoting Heller, 554 U.S. 570, 634–635 (2008)). The Second Amendment was adopted

 by the people in 1791, when they ratified the Bill of Rights. So it seems plain enough, since the

 Supreme Court has twice so held, that the scope of the Second Amendment is determined by the

 meaning it had in 1791. In determining its scope, laws from that time that are “historical analogues”

 to present day restrictions can be consulted to determine whether those present day laws are

 constitutional; that is, if the analogues showed that the conduct restricted by challenged laws was

 considered outside the scope of the Second Amendment during the Founding era. If, on the contrary,

 there were no such analogues at the time of the Founding then that is good evidence—indeed, nearly

 conclusive evidence—that the Founding generation considered the conduct protected, and modern

 laws infringing on such conduct are unconstitutional.

        The Bruen Court firmly rejected any form of “balancing test,”—such as strict scrutiny,

 intermediate scrutiny, or general interest balancing as proposed by Justice Breyer in his dissent in

 Heller. Heller, 554 U.S. at 681. The test is textual and historical only, and the relevant time period

 for determining the scope of the Second Amendment is 1791.

        The time of ratification of the Fourteenth Amendment quite literally has nothing to do with

 the original public understanding of the Second Amendment and tells us nothing important about

 the tradition of firearms regulation in this country. That is true for several reasons, explored in Parts

 I.C. through I.F., below.

        The Everytown brief explicitly argues that 1868, and not 1791, is the “most relevant” time

 period for the historical inquiry because that is “when the Fourteenth Amendment was ratified and




                                                    5
Case 3:23-cv-00209-SPM Document 64-1 Filed 03/19/23 Page 9 of 23 Page ID #2675




 made the Second Amendment applicable to the states.” Everytown Br. 6. Positing 1868 as the

 appropriate time period is advantageous to those who wish to limit Second Amendment rights

 because it greatly expands the time window for historical analogues, to include not only the period

 immediately surrounding 1791, but also periods up to 1868 and, Everytown argues, at least some

 decades past 1868. 6

        An examination of the case law that the Everytown brief relies on to posit that 1868 is the

 proper year reveals that claim to be baseless. See Part I.B., below. Such a claim is completely

 illogical and barred by other principles that are firmly established in the Supreme Court’s Bill of

 Rights jurisprudence. See Parts I.C., I.D., and I.E., below. Most conclusively, it is contrary to the

 Court’s universal practice of looking at the time of the Founding, not the Reconstruction period, to

 determine the meaning of the substantive provisions of the Bill of Rights, including the Second

 Amendment. See Part I.F., below.

     B. The case law and quotations relied on to establish 1868 as the pertinent year are
        illusory.

        Everytown contends that if this court conducts a historical inquiry “it should first conclude

 that the most relevant time period for that inquiry centers on 1868, when the Fourteenth Amendment

 was ratified and made the Second Amendment applicable to the states.” Everytown Br. 6.

        To try to support this contention, it argues that several courts of appeals have reached this

 conclusion. The Everytown brief first cites Ezell v. City of Chicago, 651 F.3d 684, 702 (7th Cir.

 2011). The brief quotes Ezell to the effect that “McDonald [v. City of Chicago, 561 U.S. 742



 6
   The historical inquiry “should focus on the period around 1868, not 1791. Moreover, 1868 is not
 a cutoff….” Everytown Br. 11.


                                                  6
Case 3:23-cv-00209-SPM Document 64-1 Filed 03/19/23 Page 10 of 23 Page ID #2676




 (2010),] confirms that if the claim concerns a state or local law, the ‘scope’ question asks how the

 right was publicly understood when the Fourteenth Amendment was proposed and ratified.” Ezell

 does contain that quote, but the Everytown brief omits the Seventh Circuit’s citation to McDonald,

 which was “McDonald, 130 S.Ct. at 3038–47.” There is a fatal problem with that citation. In that

 ten-page range, there is no statement that the time of ratification of the Fourteenth Amendment is

 the relevant time period for determining the scope of the Second Amendment. Neither Ezell nor the

 Everytown brief offers a quote from McDonald allegedly establishing that proposition, nor a cite

 to a specific page within that page range on which such a statement appears. Instead, Justice Alito’s

 McDonald opinion in the page range 3038-47 merely examines history during that time period to

 determine whether the Second Amendment should be held to be incorporated. It does not say that

 1868 is the principal time period for determining the meaning or scope of the Second Amendment.

        The Seventh Circuit simply made a mistake in Ezell. It corrected that mistake the next year

 in Moore v. Madigan, 702 F.3d 933, 935 (7th Cir. 2012). There, the Seventh Circuit held that “1791,

 the year the Second Amendment was ratified” was “the critical year for determining the

 amendment's historical meaning, according to McDonald v. City of Chicago, supra, 130 S.Ct. at

 3035 and n. 14.”

        It next quotes the First Circuit to the effect that “[b]ecause the challenge here is directed at

 a state law, the pertinent point in time would be 1868 (when the Fourteenth Amendment was

 ratified).” Everytown Br. 6. The citation to the First Circuit in the Everytown brief is: “Gould v.

 Morgan, 907 F.3d 659, 668 (1st Cir. 2018) (citing cases), criticized by Bruen, 142 S. Ct. at 2124,

 2126-27.” Everytown Br. 6. But Gould was a pre-Bruen case from Massachusetts, and involved a




                                                   7
Case 3:23-cv-00209-SPM Document 64-1 Filed 03/19/23 Page 11 of 23 Page ID #2677




 discretionary carry licensing system of the kind struck down in Bruen. It was one of the six states

 whose licensing schemes were expressly condemned in Bruen. Bruen, 142 U.S. at 2124. It also

 explicitly adopted the two-step interest balancing scheme rejected by Bruen. Gould, 907 F.3d at

 668-69. Furthermore, Gould held that “the core Second Amendment right is limited to self-defense

 in the home,” id. at 671, another holding contrary to Bruen. Gould was not “criticized by” Bruen.

 It was abrogated by Bruen and is no longer good law, if it ever was.

        The Everytown brief next cites United States v. Greeno, 679 F.3d 510, 518 (6th Cir. 2012) 7

 as “following Ezell,” and Drummond v. Robinson Twp., 9 F.4th 217, 227 (3d Cir. 2021), quoting

 language that “[T]he question is if the Second and Fourteenth Amendments’ ratifiers approved [the

 challenged] regulations ….” Everytown Br. 6-7. But as one scholar has noted:

        Greeno simply quoted the mistaken language in Ezell, apparently without
        investigating its accuracy.… The Drummond case did not hold that 1868 is the
        proper date. It merely stated, without any elaboration or citation of authority, that
        “[f]or the rim-fire rifle rule, the question is if the Second and Fourteenth
        Amendments’ ratifiers approved regulations barring training with common weapons
        in areas where firearms practice was otherwise permitted.” It then cited authorities
        from 1825, 1885, and 1895 as part of its analysis, but did not attempt to determine
        what the ratifiers of the Fourteenth Amendment may have understood the right’s
        scope to be in 1868 (citations omitted). 8

 Thus, the Everytown brief relies on a mistake in Ezell. Greeno also relied only on the mistake




 7
   The description of Gould by Everytown as “citing cases” for the proposition that 1868 is the key
 year really only cites one case: Greeno.
 8
   Mark W. Smith, “Not all History is Created Equal”: In the Post-Bruen World, the Critical Period
 for Historical Analogues is when the Second Amendment was Ratified in 1791, and not 1868, at
 32, SSRN, https://papers.ssrn.com/sol3/papers.cfm?abstract_id=4248297. See also Mark Smith,
 Attention Originalists: The Second Amendment Was Adopted in 1791, not 1868, Harvard Journal
 of Law & Public Policy Per Curiam (Fall 2022) https://www.harvard-jlpp.com/wp-
 content/uploads/sites/21/2022/12/Smith-1791-vF1.pdf.


                                                 8
Case 3:23-cv-00209-SPM Document 64-1 Filed 03/19/23 Page 12 of 23 Page ID #2678




 (promptly corrected by the Seventh Circuit) in Ezell. And Gould relied only on Greeno. This line

 of cases in the courts of appeals proves nothing.

        The Everytown brief does rely on a very recent panel decision of the Eleventh Circuit,

 determining that 1868 is the proper year. Everytown Br. 6. For the reasons stated in this brief, that

 decision is simply incorrect. As the Supreme Court in McDonald observed, 561 U.S. at 780, the

 Second Amendment is not a second-class right, so if 1868 is the proper year, courts must look at

 1868 to determine the historical meaning of all other incorporated provisions of the Bill of Rights.

 One may reasonably ask, when the next case regarding freedom of speech, freedom of religion, the

 Establishment Clause, the protection against unreasonable searches and seizures, the right to

 counsel, the right to jury trial, or another protection in the Bill of Rights comes before the Eleventh

 Circuit, will that court jettison existing Supreme Court precedent that looked to the Founding to

 ascertain those rights, and make a new determination based on 1868? One suspects it will not.

        That panel decision is not yet final, because on the day the opinion was issued a judge of

 the Eleventh Circuit directed the clerk to withhold the mandate. National Rifle Association v. Bondi,

 No. 21-12314, Doc. No. 67 (Mar. 9, 2023). Among other things, this action might suggest a

 rehearing en banc, in which case the panel decision would be vacated. Also, one of the three judges

 on the panel only concurred in the judgment, noting that:

        I would wait to issue an opinion until the current session of the Florida legislature
        completes its consideration of H.B. 1543, 2023 Leg., Reg. Sess. (Fla. 2023), which
        may render the issue moot. . . . However, I concur in the judgment given the law as
        it exists today.

 National Rifle Association v. Bondi, No. 21-12314, 2023 WL 2416683, *14 (Mar. 9, 2023). Thus,

 it would be prudent not to give too much weight to this decision before the procedural history is



                                                     9
Case 3:23-cv-00209-SPM Document 64-1 Filed 03/19/23 Page 13 of 23 Page ID #2679




 played out.

        What does the Everytown brief not cite for the proposition that the 1868 time of ratification

 is or ought to be controlling? It does not cite a single Supreme Court case that has ever held that

 1868 is the principal relevant time for determining the original public understanding of the Second

 Amendment or of any of the first eight provisions of the Bill of Rights. That is because when history

 is consulted by the Supreme Court to determine the original meaning of a provision of the Bill of

 Rights it has always looked to the Founding era as the principal focus. See Part I.F., below. It has

 never considered 1868 to be the uniquely relevant time period or, really, very relevant at all.

        The Everytown brief does mention Bruen, but tries to transmute a passing remark made by

 Justice Thomas, the author of the Bruen opinion, into a holding that 1868 is the key year for

 determining meaning, which neither Bruen nor any other Supreme Court opinion has ever held.

        Bruen merely noted the unexceptionable principle that:

        Strictly speaking, New York is bound to respect the right to keep and bear arms
        because of the Fourteenth Amendment, not the Second….[citation omitted]
        Nonetheless, we have made clear that individual rights enumerated in the Bill of
        Rights and made applicable against the States through the Fourteenth Amendment
        have the same scope as against the Federal Government. [multiple citations omitted]
        And we have generally assumed that the scope of the protection applicable to the
        Federal Government and States is pegged to the public understanding of the right
        when the Bill of Rights was adopted in 1791. [citing three Court cases from the past
        twenty years holding that 1791 is the proper period for determining public
        understanding of the First, Fourth, and Sixth Amendments].

        Justice Thomas’s opinion then continued:

        We also acknowledge that there is an ongoing scholarly debate on whether courts
        should primarily rely on the prevailing understanding of an individual right when
        the Fourteenth Amendment was ratified in 1868 when defining its scope (as well as
        the scope of the right against the Federal Government). See, e.g., A. Amar, The Bill
        of Rights: Creation and Reconstruction xiv, 223, 243 (1998); K. Lash, Re-Speaking



                                                  10
Case 3:23-cv-00209-SPM Document 64-1 Filed 03/19/23 Page 14 of 23 Page ID #2680




        the Bill of Rights: A New Doctrine of Incorporation [now published at 97 Ind. L.J.
        1439 (2022)] (“When the people adopted the Fourteenth Amendment into existence,
        they readopted the original Bill of Rights, and did so in a manner that invested those
        original 1791 texts with new 1868 meanings”). We need not address this issue today
        because . . . the public understanding of the right to keep and bear arms in both 1791
        and 1868 was, for all relevant purposes, the same with respect to public carry.

 Bruen, 142 S.Ct. at 2138.

        Several things are worth noting in this passage. First, though characterized as an

 “assumption,” the test actually applied by the Bruen court, and in numerous cases cited by Bruen,

 was 1791, not 1868. Second, the acknowledgement of an “ongoing scholarly debate” does not imply

 that the Court has changed or will change the historical period it will look at for determining original

 public understanding, through “historical analogues” or other means. Third, adoption of 1868 as

 the historical period to determine original meaning would nullify the entire course of Supreme

 Court incorporation jurisprudence, and would require that all Bill of Rights cases, whether based

 on incorporation against the states or directly against the federal government, be revisited.

    C. The Constitution’s meaning is fixed according to the understandings of the Founders.

        Bruen expressly held that the Constitution’s “meaning is fixed according to the

 understandings of those who ratified it,” although “the Constitution can, and must, apply to

 circumstances beyond those the Founders specifically anticipated.” Bruen, 142 S.Ct. 2132. Thus,

 it is the understanding of “the Founders” that is dispositive. For that proposition, Bruen cited United

 States v. Jones, 565 U.S. 400, 404–405 (2012), a Fourth Amendment case that held that installation

 of a tracking device “would have been considered a ‘search’ within the meaning of the Fourth

 Amendment when it was adopted”) (emphasis added). As noted, it was adopted in 1791. Heller

 also expressly determined that the Founding was the relevant time for ascertaining original public



                                                   11
Case 3:23-cv-00209-SPM Document 64-1 Filed 03/19/23 Page 15 of 23 Page ID #2681




 understanding. It specifically noted that the “Constitution was written to be understood by the

 voters,” and that “Normal meaning … excludes secret or technical meanings that would not have

 been known to ordinary citizens in the founding generation.” Heller, 554 U.S. at 576-77 (emphasis

 added). So, the Constitution, including the Bill of Rights and Second Amendment, had an

 ascertainable, fixed meaning at the time it was adopted, which is the time of the Founding.

    D. Each provision of the Bill of Rights means the same thing when applied against the
       states through the Fourteenth Amendment as it does when applied against the
       federal government.

        Bruen itself made it clear that “individual rights enumerated in the Bill of Rights and made

 applicable against the States through the Fourteenth Amendment have the same scope as against

 the Federal Government.” Bruen, 142 S.Ct. at 2137. The Second Amendment therefore cannot have

 one meaning when applied against the federal government and a different meaning when

 incorporated against the states. That principle was conclusively established in Malloy v. Hogan,

 378 U.S. 1 (1964) after debate among the members of the Court over a period of years. It has been

 adhered to by the Court ever since. McDonald reviewed the debate on this issue, and concluded

 that Malloy “decisively held that incorporated Bill of Rights protections ‘are all to be enforced

 against the States under the Fourteenth Amendment according to the same standards that protect

 those personal rights against federal encroachment.’” McDonald, 561 U.S. at 765-66 (citing cases).

        If the Second Amendment meant something in 1791 regarding the restraints placed on the

 federal government, as it surely did (see Heller), then the principle just described means that it

 meant the identical thing when applied to restrain the states in 1868 and thereafter. And that

 meaning was fixed in 1791, as seen above. Thus, no amount of “historical analogues” in later times




                                                 12
Case 3:23-cv-00209-SPM Document 64-1 Filed 03/19/23 Page 16 of 23 Page ID #2682




 can change the 1791 meaning.

       E. Bruen and Heller both held that history from around the time of the Civil War or
          later cannot be used to contradict the original understanding from 1791, but can only
          be used to confirm that understanding.

          Although both Heller and Bruen examined a small amount of evidence from the mid- to

 late-nineteenth century, they clearly did so only to confirm the original understanding from the time

 of the ratification of the Second Amendment in 1791. Bruen relied on Gamble v. United States, 139

 S.Ct. 1960 (2019) to make that point concisely. The Bruen opinion noted that “we made clear in

 Gamble that Heller’s interest in mid- to late-19th-century commentary was secondary. Heller

 considered this evidence ‘only after surveying what it regarded as a wealth of authority for its

 reading—including the text of the Second Amendment and state constitutions.’” Bruen, 142 S.Ct.

 at 2137 (quoting Gamble, 139 S.Ct. at 1975–76). Any evidence from the mid- to late-nineteenth

 century was treated as “mere confirmation of what the Court thought had already been established.”

 Id.

          Furthermore, both Heller and Bruen noted that little weight should be given such nineteenth

 century evidence under any circumstances. Bruen expressly cautioned “against giving

 postenactment history more weight than it can rightly bear.” Bruen, 142 S.Ct. at 2136. Bruen also

 quoted Heller regarding post-Civil War discussions of the right to keep and bear arms, observing

 that because they “took place 75 years after the ratification of the Second Amendment, they do not

 provide as much insight into its original meaning as earlier sources.” Bruen, 142 S.Ct. at 2137

 (emphasis added). If 1868 were the proper period, then such evidence would be the most relevant

 of all; but both Heller and Bruen viewed the “ratification of the Second Amendment” as the proper




                                                  13
Case 3:23-cv-00209-SPM Document 64-1 Filed 03/19/23 Page 17 of 23 Page ID #2683




 period for determining original meaning. In fact, the Court in Bruen refused even to consider “any

 of the 20th-century historical evidence brought to bear by respondents or their amici.” Bruen, 142

 S.Ct. at 2154 n.28. The Court’s reason was straightforward: “As with their late-19th-century

 evidence, the 20th century evidence presented by respondents and their amici does not provide

 insight into the meaning of the Second Amendment when it contradicts earlier evidence.” Id.

           Of course, the reason that Defendants offer evidence or historical analogues from the late

 nineteenth century and twentieth century is precisely because they contradict earlier evidence. The

 tradition at the time of the Founding, and up until a smattering of short-lived laws in the 1920s and

 1930s, was that the government could not ban the sale or possession of arms.

       F. The position that 1868 is the proper year is contrary to the Supreme Court’s prior
          holdings and will not be adopted by the Court.

           1. The Supreme Court’s universal practice has been to look at the Founding era, not
              1868, to determine the original understanding of the Bill of Rights.

           As noted, Defendants and Everytown have not cited a single Supreme Court case in which

 the Court looked to 1868 or the Reconstruction period as the principal time period to ascertain the

 original meaning of the provisions of the Bill of Rights. Of course, the Court does not always need

 to consult history to determine the outcome of a case involving an incorporated provision of the

 Bill of Rights. But when it has employed history, the Court has always considered the Founding

 period, or very shortly before or thereafter, to be the principal or exclusive period that is

 determinative. Following is a partial list of such cases using history from the Founding: 9

           First Amendment: Fulton v. City of Philadelphia, 141 S. Ct. 1868, 1894–912 (2021) (Free



 9
     This list is based in part on the list contained in Smith, Attention Originalists, supra n.6, at 7 n.35.


                                                      14
Case 3:23-cv-00209-SPM Document 64-1 Filed 03/19/23 Page 18 of 23 Page ID #2684




 Exercise Clause) (concurrence by Justices Alito, Thomas, and Gorsuch); Hosanna-Tabor

 Evangelical Lutheran Church and School v. E.E.O.C., 565 U.S. 171, 182–84 (2012) (Establishment

 Clause and Free Exercise Clause); Nevada Comm’n on Ethics v. Carrigan, 564 U.S. 117, 122–125

 (2011) (freedom of speech); Lynch v. Donnelly, 465 U.S. 668, 673–74 (1984) (Establishment

 Clause); Near v. Minnesota, 283 U.S. 697, 713–17 (1931) (freedom of the press); Reynolds v.

 United States, 98 U.S. 145, 163 (1878) (Free Exercise Clause).

        Second Amendment: New York State Rifle Association v. Bruen, 142 S. Ct. 2111, 2136

 (2022); District of Columbia v. Heller, 554 U.S. 570, 634–635 (2008).

        Fourth Amendment: Virginia v. Moore, 553 U.S. 164, 168–169 (2008); Wyoming v.

 Houghton, 526 U.S. 295, 299 (1999); Wilson v. Arkansas, 514 U.S. 927, 931 (1995).

        Fifth Amendment: Gamble v. United States, 139 S. Ct. 1960, 1965 (2019) (Double

 Jeopardy Clause); Benton v. Maryland, 395 U.S. 784, 795–96 (1969) (Double Jeopardy Clause).

        Sixth Amendment: Ramos v. Louisiana, 140 S. Ct. 1390, 1395–96 (2020) (Jury Trial

 Clause); Crawford v. Washington, 541 U.S. 36, 42–50 (2004) (Confrontation Clause); Duncan v.

 Louisiana, 391 U.S. 145, 151–54 (1968) (right to jury trial in state cases); Klopfer v. North

 Carolina, 386 U.S. 213, 223–25 (1967) (right to speedy trial); Washington v. Texas, 388 U.S. 14,

 20, 23 (1967) (Compulsory Process Clause); In re Oliver, 333 U.S. 257, 266–268 (1948) (right to

 public trial); Powell v. Alabama, 287 U.S. 45, 60–67 (1932) (Right to Counsel Clause).

        Eighth Amendment: Timbs v. Indiana, 139 S. Ct. 682, 687–99 (2019) (Excessive Fines

 Clause).

        Justice Thomas’s statement in Bruen that the Court has “generally assumed that the scope




                                                15
Case 3:23-cv-00209-SPM Document 64-1 Filed 03/19/23 Page 19 of 23 Page ID #2685




 of the protection applicable to the Federal Government and States is pegged to the public

 understanding of the right when the Bill of Rights was adopted in 1791,” is thus too modest. Bruen,

 142 S.Ct. at 2137. The cases listed above demonstrate that, when the Court looks at history, the

 period around 1791 has been the central, often only, time period that it has examined to determine

 original public understanding of the Bill of Rights.

         2. The Supreme Court will not overturn its fundamental incorporation jurisprudence
            to focus on 1868 rather than the Founding.

        The “ongoing scholarly debate” referenced by the Bruen opinion has not turned out to be

 much of a debate. The Court cites only two books or articles on the subject, Prof. Akhil Reed

 Amar’s 1998 book on the Bill of Rights, 10 and a recent law review article by Prof. Kurt Lash. 11 The

 most relevant of these is the article by Lash. According to Westlaw at the time this is written, there

 have been sixteen citations to Lash’s article. Fifteen were in briefs filed by Everytown or responding

 to Everytown, and one was in a law journal article, in which Lash’s article is cited once in a footnote.

        Amar’s book does not argue that 1868 is the central or exclusive time focus for determining

 the original meaning or public understanding of the Bill of Rights. His approach is more subtle,

 arguing that “a particular principle in the Bill of Rights may change its shape in the process of

 absorption into the Fourteenth Amendment.” Amar at xiv. With regard to the Second Amendment,

 Amar argues that the words of that Amendment “take on a different coloration and nuance when

 they are relabeled ‘privileges or immunities of citizens’ rather than ‘the right of the people,’” and




 10
   AKHIL REED AMAR, THE BILL OF RIGHTS: CREATION AND RECONSTRUCTION (1998);
 11
   K. Lash, Re-Speaking the Bill of Rights: A New Doctrine of Incorporation, 97 Ind. L.J. 1439
 (2022). Justice Thomas cited to the version of the article as it existed then on SSRN.


                                                   16
Case 3:23-cv-00209-SPM Document 64-1 Filed 03/19/23 Page 20 of 23 Page ID #2686




 that “the core applications and central meanings of the right to keep and bear arms and other key

 rights were very different in 1866 than in 1789.” Amar at 223. Thus, “when we ‘apply’ the Bill of

 Rights against the states today, we must first and foremost reflect on the meaning and the spirit of

 the amendment of 1866, not the Bill of 1789.” Id. He stopped far short of contending that in

 determining original public understanding of the Bill of Rights, the time of the Fourteenth

 Amendment should prevail over and replace the time of the Founding.

        Lash takes the forthright, albeit erroneous, position that the relevant time period for

 determining meaning is 1868, not 1791. He claims that when the Fourteenth Amendment was

 ratified, the people “respoke” the provisions of the Bill of Rights and “invested those original 1791

 texts with new 1868 meanings.” Lash at 1441. He calls this “reverse incorporation,” 12 and contends

 that his version of “reverse incorporation” would turn that “proposition about equal protection and

 a single clause of the Fifth Amendment into a proposition about the entire content of the Bill of

 Rights.” Lash at 1442. This is essentially the position advocated by the Everytown brief.

        Recall that the provisions of the Constitution have one meaning, fixed at the time of the

 Founding. For the Bill of Rights, that meaning cannot apply differently to the federal government

 and the states. A special rule regarding which time period to use cannot be employed for the Second

 Amendment, because as the Supreme Court has said, that amendment is not a “second class right.”

 McDonald, 561 U.S. at 780.         That means that the Supreme Court’s entire incorporation




 12
   That is the term sometimes used for the unique approach taken in Bolling v. Sharpe, 347 U.S.
 497 (1954), a companion case to Brown v. Board of Education, 347 U.S. 483 (1954), in which the
 equal protection clause of the Fourteenth Amendment was “read back” into the Fifth Amendment’s
 due process clause.


                                                  17
Case 3:23-cv-00209-SPM Document 64-1 Filed 03/19/23 Page 21 of 23 Page ID #2687




 jurisprudence would have to be overturned for all provisions of the Bill of Rights, and all decisions

 regarding the original meaning of those provisions would have to be revisited, with an allegedly

 different understanding from 1868 substituted for the original understanding of 1791.

        Needless to say, that is unlikely to happen. In any event, it has not happened, and lower

 courts are bound by the decisions of the Supreme Court. Accordingly, talk about substituting an

 1868 understanding for the original understanding of 1791 should be dismissed.

 II. HELLER DETERMINED THE LEGAL STANDARD THAT APPLIES TO BANS ON
     ARMS AND THAT STANDARD SHOULD BE APPLIED IN THIS CASE.

        As described above, Heller has already determined the legal test to be applied in arms ban

 cases. An arm is protected by the Second Amendment if it is “in common use” today, or is “typically

 possessed by law-abiding citizens for lawful purposes.” Heller, 554 U.S. at 625. While Defendants

 seek to limit the common use test to employment of a gun in cases of self-defense only, there is

 nothing in Heller that supports such a limitation. Possession for any lawful purpose, be it self-

 defense, hunting, recreational shooting, home defense, or competition, is protected by the Second

 Amendment.

        Plaintiffs have presented evidence that so-called assault weapons are merely ordinary

 semiautomatics, that so-called “large capacity” magazines are, in fact, standard capacity, and that

 these firearms are owned in the tens of millions and the magazines are owned in the hundreds of

 millions. See, e.g., Plaintiffs’ Motion for Preliminary Injunction in Barnett v. Raoul at 9-12, 16-19.

 Amicus will not repeat those figures here. Suffice it to say that these firearms and magazines

 unquestionably meet the Heller test that they be “typically possessed by law-abiding citizens for

 lawful purposes.”



                                                  18
Case 3:23-cv-00209-SPM Document 64-1 Filed 03/19/23 Page 22 of 23 Page ID #2688




        Heller has already done the historical analysis and defined a constitutional test for what

 arms are protected by the Second Amendment. Bruen did not disturb the test announced in Heller

 as to what arms are protected. All that remains is for courts and litigants to apply that test to the

 arms in question in a particular case. It is not only unnecessary for courts and litigants to look for

 historical analogues when deciding what kinds of arms may be possessed under the protection of

 the Second Amendment. It is also improper, because Heller has already made that determination,

 and it is not the province of lower courts to devise a different standard to replace it.

        Amicus has devoted most of this brief to refuting the newly advanced theory that the Second

 Amendment should be interpreted in accordance with its meaning in 1868 and years thereafter. But

 the simple answer for deciding this case is that Heller governs, and that is the end of the matter.

 All of the discussion of alleged analogues in 1868 and thereafter is an attempt to divert attention

 from that straightforward truth.

                                            CONCLUSION

        The Motion for Preliminary Injunction should be granted.

                                                        Respectfully submitted,

                                                        /s/ Dan M. Peterson
                                                        Dan M. Peterson
                                                        Dan M. Peterson PLLC
                                                        3925 Chain Bridge Road, Suite 403
                                                        Fairfax, Virginia 22030
                                                        (703) 352-7276
                                                        dan@danpetersonlaw.com
                                                        Counsel for Amicus Curiae




                                                   19
Case 3:23-cv-00209-SPM Document 64-1 Filed 03/19/23 Page 23 of 23 Page ID #2689




                                  CERTIFICATE OF SERVICE


        I hereby certify that on March 17, 2023, an electronic PDF of the foregoing Amicus Brief

 of the Second Amendment Law Center was uploaded to the Court=s CM/ECF system, which will

 automatically generate and send by electronic mail a Notice of Docket Activity to all registered

 attorneys participating in the case. Such notice constitutes service on those registered attorneys.

                                               /s/ Dan M. Peterson
                                               Dan M. Peterson
